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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7 UNITED STATES OF AMERICA,                         )
                                                     )
 8                            Plaintiff,             )    Case No. CR06-106-RSM
                                                     )
 9         v.                                        )
                                                     )    PROPOSED FINDINGS OF
10 FELIPE B. MARAMBA,                                )    FACT AND DETERMINATION
                                                     )    AS TO ALLEGED
11                            Defendant.             )    VIOLATIONS OF
                                                     )    SUPERVISED RELEASE
12

13                                         INTRODUCTION

14         I conducted a hearing on alleged violations of supervised release in this case on December

15   29, 2008. The defendant appeared following his arrest on the warrant issued on August 15, 2008

16   in this case. The United States was represented by Jill Otake, and defendant was represented by

17   Anna Tolin. Also present was U.S. Probation Officer Patrick Robinson. The proceedings were

18   digitally recorded.

19                              SENTENCE AND PRIOR VIOLATIONS

20       On July 13, 2004 the Court sentenced defendant to 21 months of imprisonment and five

21   years of supervision following defendant’s plea to conspiracy to commit bank fraud. After

22   completing his prison sentence, defendant’s term of supervision began on December 21, 2007.

23       On March 28, 2008, the Court found defendant had violated his supervision by using

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -1
           Case 2:06-cr-00106-RSM           Document 346        Filed 12/29/08     Page 2 of 3




 1   methamphetamine on December 28, 2007; January 18 and 23 2008; February 4, 12, and 19, 2008;

 2   and March 3, 2008; failing to submit to drug testing on January 31, 2008; February 4, 12 and 19,

 3   2008 and failing to notify the probation office ten days prior to any change in residence or

 4   employment on February 15, 2008. The Court revoked defendant’s supervision and sentenced

 5   defendant to time served. The Court also imposed a five year term of supervised release

 6   including residence in an RRC for up to 120 days. On April 11, 2008, defendant was released to

 7   the Tacoma RRC.

 8         On July 14, 2008, the Court found defendant had violated his supervision by failing to

 9   successfully participate in a RRC for up to 120 days by being terminated on May 16, 2008. The

10   Court ordered supervision to continue with the condition that defendant reside at the Oxford

11   house for up to 120 days.

12                         PRESENTLY ALLEGED VIOLATIONS AND
                          DEFENDANT'S ADMISSION OF THE VIOLATIONS
13
         In a petition dated August 14, 2008, Supervising U.S. Probation Officer Joe Mendez alleged
14
     that defendant violated the following conditions of supervised release:
15
         1. Failing to reside at the Sunset View Oxford house for up to 120 days by being terminated
16
     on or about July 22, 2008, in violation of a special condition.
17
         2. Failing to notify the U.S. Probation Officer 10 days prior to any change in residence or
18
     employment, in violation of standard condition number six.
19
         After being advised of his right to an evidentiary hearing and waiving any hearing as to
20
     whether the violations occurred, defendant admitted each of the above violations.
21
         Defendant was informed that a disposition hearing was scheduled for January 9, 2009 before
22
     the Honorable Ricardo S. Martinez. Defendant stipulated to detention.
23

     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -2
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 1                       RECOMMENDED FINDINGS AND CONCLUSIONS

 2       Based upon the foregoing, I recommend the court find that defendant has violated the

 3   conditions of his supervised release as alleged above, and conduct a disposition hearing.

 4         DATED this 29th day of December, 2008.

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 6                                                       A
                                                         BRIAN A. TSUCHIDA
 7                                                       United States Magistrate Judge

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     PROPOSED FINDINGS OF FACT AND
     DETERMINATION AS TO VIOLATIONS OF
     SUPERVISED RELEASE -3
